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of the relinquishment of his right to post-conviction relief . None of his grounds for relief,

including his allegations regarding ineffective assistance of counsel, are related to the validity of

his plea agreement or the waiver. DeLaRosa simply challenges the correctness of his sentence

despite his explicit abandonment of such challenges.

       In sum, for the reasons set forth above, the instant motion by Baudelio DeLaRosa to

vacate, set aside, or correct his sentence under 28 U.S.C. § 2255 shall be denied.

       SO ORDERED, this the 30th day of June, 2008.




                                               /s/ MICHAEL P. MILLS
                                               CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF MISSISSIPPI




                                                 -10-
